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                      Exhibit 10
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 Ref: 10/1/15991
 Date: 5/Rabi' Al Awal/1443
 Date: 12/October/2021

 The Chairman of the Board of Directors of Arab Bank
 General Management/Amman

 In reference to your two letters Ref (4/LED) dated March 12, 2020 and Ref (4/LED) dated October
 3, 2021 in which you request a response on the Judicial Assistance Request attached thereto and
 issued by Magistrate Judge Peggy Kuo, the Judge in the Eastern District of New York in the United
 States of America dated January 29, 2020, in relation to the lawsuit filed against Arab Bank (Miller
 and Pam) in the United States of America, which is addressed to His Excellency the Minister of
 Justice with a copy to us.

 Moreover, after reviewing the content of the request attached to the above-mentioned two letters,
 we wish to inform you of the following:-

    1. The Central Bank of Jordan cannot approve the request mentioned in the attachment of
       your above-mentioned two letters since approving it is considered a violation of the
       provisions of the Banking Law and is outside the scope of the Central Bank.

    2. In addition, lifting the requested secrecy does not fall within the cases mentioned in Article
       (74) of the Banking Law which are considered exceptions to the bank secrecy provisions
       mentioned in Articles (72, 73) of the Banking Law.

    3. Furthermore, your disclosure of bank secrecy as mentioned in the request shall subject your
       Bank to imposing a penalty or a measure or more of penalties and measures mentioned in
       Article (88) of the Banking Law.

    4. Additionally, Article (75) of the Banking Law punishes by imprisonment and fine on every
       administrative (employee in the bank) who violates Article (72, 73) of the same Law.

    5. Also, lifting bank secrecy may subject your Bank to legal liability for compensation.

 Best regards,

 Governor
 Dr. Ziad Fariz

 Note the letter contains a receipt stamp by Arab Bank plc/Legal Department dated
 October 21, 2021.
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                                                         CERTIFICATION
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 File Name(s):                         CBJ Response (with Eng)

 Source Language(s):                   Arabic

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 Authorized Signature:




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 Name:         Crystal Dai

 Title:        Senior Project Manager

 Date:         March 3, 2022




 Reason for signature: I approve the accuracy of this document content as written




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